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   1    CLARK HILL PLC
   2    Myriah V. Jaworski, Esq. (SBN 336898)
        mjaworski@clarkhill.com
   3    One America Plaza
   4    600 West Broadway, Suite 500
        San Diego, CA 92101
   5    Telephone: (619) 557-0404
   6    Facsimile: (619) 557-0460
   7
        Attorneys for Defendant 1 HOTEL WEST
   8
        HOLLYWOOD, L.L.C.
   9
                              UNITED STATES DISTRICT COURT
  10
                            CENTRAL DISTRICT OF CALIFORNIA
  11

  12

  13    SUNNY KHACHATRYAN, AN              Case No. 2:23-cv-10829
  14
        INDIVIDUAL; TATEVIK
        KHACHATRYAN, AN INDIVIDUAL; MEMORANDUM IN SUPPORT OF
  15    B.A.J., A MINOR; AND I.M., A       DEFENDANT’S MOTION TO
        MINOR,                             COMPEL PLAINTIFFS’
  16                                       DISCOVERY RESPONSES AND
  17                           Plaintiffs, THE DEPOSITION OF PLAINTIFF
                                           SUNNY KHACHATRYAN
  18         v.
  19
        1 HOTEL WEST HOLLYWOOD,                    Discovery Cut-Off: 11/25/2024
  20    L.L.C.,                                    Pre-Trial Conference: 4/7/2025
  21                                               Trial: 4/29/2025
                                   Defendant.
                                                   Hearing Date: 9/13/2024
  22                                               Time: 9:30 a.m.
  23

  24

  25         Defendant 1 HOTEL WEST HOLLYWOOD, L.L.C. (“Defendant” or “1
  26   Hotel”), by and through its attorneys of record, submits its Memorandum in Support
  27   of its Motion to Compel Plaintiffs’ Discovery Responses and the Deposition of

  28   Plaintiff Sunny Khachatryan, and states the following in support thereof:
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   1   I.       INTRODUCTION
   2            Plaintiffs’ Complaint alleges that they are entitled to “not less than” $6 million
   3   in damages based on a single photograph of minor plaintiffs Brave Angelo Johnson
   4   (“B.A.J.”) and Isabella Murray (“I.M.”) (the “Photograph”) appearing on a 1 Hotel
   5   website listing for children’s bath robes (the “Website”). [ECF No. 47, Am. Compl.
   6   (“Compl.”), ¶¶ 23-33; Prayer for Relief ¶ B (emphasis added)].1 But, despite
   7   invoking this Court’s jurisdiction to seek relief and demanding multiple millions of
   8   dollars in damages, Plaintiffs confoundingly refuse to prosecute their own claims.
   9            To be sure, Plaintiffs’ dilatory conduct in discovery extends well-beyond heel
  10   dragging or a good faith dispute about the scope of discovery. At nearly every turn,
  11   Plaintiffs’ late or deficient responses have required 1 Hotel to repeatedly follow up
  12   and request supplementation, only for the supplemented response to be equally
  13   deficient. For example, Plaintiffs provided improper blanket objections to each of 1
  14   Hotel’s Rule 33 interrogatories and have refused (or ignored) 1 Hotel’s requests that
  15   they provide substantive written responses to the same. Plaintiffs also provided
  16   improper blanket objections to all of 1 Hotel’s Rule 34 requests for production and,
  17   to date, have produced a mere 60 pages of documents concerning only Plaintiff I.M.
  18   Major categories of responsive documents remain outstanding, as does all
  19   information concerning Plaintiffs B.A.J and Sunny Khachatryan.
  20            Plaintiffs followed a similar pattern with their Fed. R. Civ. P. 26(a)(1)
  21   disclosures, which require a “computation of each category of damages claimed.”
  22   Despite repeated requests for a computation of their claim for up to six million
  23   dollars in damages, Plaintiffs have provided only a boilerplate statement that they
  24   are seeking “actual damages in the amount of $2,000,000” apparently per plaintiff.
  25   And, Plaintiffs failed to produce Plaintiff Sunny Khachatryan for her noticed
  26   deposition on August 7, 2024, or to provide any alternative dates and times for her
  27   1
         By the Complaint, Plaintiffs seek “actual damages in the amount presently believed to be not less
  28   than $2,000,000 per plaintiff” (emphasis added).
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  1   to be deposed. Throughout it all, Plaintiffs have wholly ignored 1 Hotel’s repeated
      requests to confer pursuant to Local Rule 37-1, further compounding the delay and
  2
      costs incurred to have Plaintiffs meet their most basic discovery obligations.
  3
            Fact discovery in this case is scheduled to close on November 25, 2024, and
  4
      1 Hotel intends to move for summary judgment promptly thereafter. [ECF No. 44].
  5   Plaintiffs’ failure to participate in discovery for a case they filed prejudices 1 Hotel’s
  6   ability to defend itself against Plaintiffs’ remaining claims, rebut their unsupported

  7   damages claim, and seek a timely exit from this case.
            For the reasons set forth below, 1 Hotel respectfully requests that this Court:
  8
               i.   first, compel Plaintiffs to provide a computation of damages as
  9
                    required by Fed. R. Civ. P. 26(a)(1)(A)(iii);
 10
              ii.   second, compel Plaintiffs to provide complete responses to 1 Hotel’s
 11                 interrogatories (Interrog. Nos. 1-18);
 12          iii.   third, compel Plaintiffs to produce documents that supports their own

 13                 claims and damages (RFP Nos. 1-13);
             iv.    forth, compel Plaintiffs to provide a deposition date for Sunny
 14
                    Khachatryan individually and as guardian for B.A.J. and I.M.; and
 15
              v.    fifth, award 1 Hotel all attorneys’ fees and costs incurred in seeking
 16
                    Plaintiffs’ compliance with discovery, including the costs of preparing
 17                 and filing this present motion.
 18   II.   RELEVANT PROCEDURAL POSTURE

 19         This case concerns the allegedly unauthorized use of a single Photograph of
      minor plaintiffs B.A.J. and I.M. by 1 Hotel on a Website page associated with a
 20
      listing for 1 Hotel children’s bath robes. Compl., ¶¶ 23-33. By Order dated June 14,
 21
      2024, this Court dismissed all but Plaintiff Sunny Khachatryan’s copyright
 22   infringement claim, and Plaintiffs B.A.J. and I.M.’s misappropriation claims against
 23   1 Hotel. [ECF No. 46]. The Court also dismissed Plaintiffs’ request for attorneys’
 24   fees and statutory damages on the infringement claim under the Copyright Act [Id.],
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  1   leaving Plaintiffs theoretically entitled to only actual damages on their remaining
      claims.2 Plaintiffs’ themselves acknowledge this in the prayer for relief, where they
  2
      request that “Defendants be required to pay Plaintiffs their actual damages in the
  3
      amount presently believed to be not less than $2,000,000 per plaintiff and
  4
      Defendants’ profits attributable to the infringement.”3 Compl., Prayer for Relief ¶ B
  5   (emphasis added).
  6   III.    FACTUAL BACKGROUND

  7           a.     Plaintiffs claim they have up to $6 million in damages, but refuse
                     to produce a computation or supporting documents.
  8
              Fed. R. Civ. P. 26(a)(1)(A)(iii) requires Plaintiffs’ initial disclosures to
  9
      include “a “computation of each category of damages claimed” and the documents
 10
      supporting that computation. On May 3, 2024, Plaintiffs provided their Rule 26
 11   initial disclosures. See Declaration of Myriah V. Jaworski (“Jaworski Decl.”), ¶ 5.
 12   In the damages computation section of their disclosure, Plaintiffs stated that they

 13   “seek monetary relief.” Jaworski Decl., Ex. 1 at ¶ II(C). 1 Hotel requested that
      Plaintiffs supplement the disclosures to provide a damages computation as required
 14
      by Rule 26(a)(1)(A)(iii). Jaworski Decl. ¶ 6. On June 21, 2024, Plaintiffs modified
 15
      their disclosures to state: “Plaintiffs seek monetary relief of actual damages in the
 16
      amount of $2,000,000.”4 Jaworski Decl., Ex. 4 at ¶ II(C). On July 12, 2024, 1 Hotel
 17   again requested supplementation as the amended computation still lacked the
 18
      2
        Cal. Civ. Code § 3344 provides for statutory damages “in an amount equal to the greater of
 19   seven hundred fifty dollars ($750) or the actual damages suffered”. Given Plaintiffs’ multi-
      million-dollar damages demand, it appears they do not seek statutory damages under this Code
 20   provision.
      3
        Plaintiffs have long known that Defendants total profits attributable to the alleged infringement
 21   is less than $5,000. Specifically, for the period of time the Photograph was displayed on the
      Website, Defendants sold a total of 38 children’s bathrobes for total revenue of $3,216 and total
 22   net profits of $2,342. [ECF No. 48, Affirm. Defs. ¶¶ 21-22].
      4
 23    Notably, this disclosure appears inconsistent with the prayer for relief in Plaintiffs’ Amended
      Complaint, in which Plaintiffs stated they are seeking $2,000,000 per plaintiff. Compl., Prayer for
 24   Relief ¶ B.
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  1   required damages computation as required by law. Jaworski Decl. ¶ 9. To avoid any
      doubt, 1 Hotel expressly requested a breakdown of how Plaintiffs reached the
  2
      amount of damages they seek, the amount claimed for each specific claim, the
  3
      amount attributable to each Plaintiff, and provided caselaw support for its request.
  4
      Jaworski Decl., Ex. 5. Despite repeated reminders, Plaintiffs have failed to even
  5   respond to this request, let alone actually supplement their damages computation.
  6   Jaworski Decl. ¶ 10.

  7
             b.    Plaintiffs claim they are celebrities with multi-million-dollar hotel
  8                deals but refuse to provide supporting documentation.
             Plaintiffs allege that Sunny Khachatryan “is a prominent figure in the field of
  9
      mental health,” has been featured in Psychology Today and CanvasRebel, and was
 10
      dubbed as a “rising star” in the “Voyage MIA Magazine.” Compl., ¶ 2. Plaintiffs
 11   further allege that they are all “well-known figures” in the entertainment industry.
 12   Id., ¶ 3.

 13          Plaintiffs also allege that B.A.J. and I.M. (collectively, “Minor Plaintiffs”) are
      professional models, who have appeared in numerous ads and commercials and that
 14
      they were both considered for “a multi-million-dollar hotel endorsement” and other
 15
      modeling contracts with several “five-star hotel chains.” Id., ¶¶ 5-8. As these specific
 16
      allegations were contained in Plaintiffs’ Complaint, information in support of these
 17   allegations should be readily available to Plaintiffs. Obtaining this information (or
 18   confirming it does not, in fact, exist), is vital to 1 Hotel’s defense of Plaintiffs’

 19   claims.
             On June 14, 2024,1 Hotel issued its first set of Rule 33 interrogatories and
 20
      Rule 34 requests for production (“RFPs”). Jaworski Decl. ¶¶ 11, 14. 1 Hotel’s RFPs
 21
      requested information supporting (or refuting) Plaintiffs’ claim for damages (RFP
 22   Nos. 1-2, 12-13), information on Plaintiffs’ social media accounts (RFP No. 3),
 23   documents and communications related to the alleged modeling careers of Minor
 24   Plaintiffs, including their alleged endorsement deals with other five-star hotel chains
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  1   (RFP Nos. 4-8, 11), and information related to the copyright registration of the
      Photograph (RFP No. 10). Jaworski Decl., Ex. 8. Through its interrogatories, 1 Hotel
  2
      asked questions related to Plaintiffs claims. Jaworski Decl., Ex. 6. Together, the
  3
      requests seek documentation and information concerning, among other things,
  4
      Plaintiffs’ alleged celebrity status, flourishing modeling careers, hotel endorsement
  5   deals, and the alleged multiple million-dollar value of their image(s).
  6         After delays, on July 16, 2024, Plaintiffs served responses to 1 Hotel’s

  7   discovery requests. Plaintiffs did not respond to one interrogatory, and instead
      issued improper blanket objections to all 18 of 1 Hotel’s Rule 33 interrogatories.
  8
      Jaworski Decl. ¶ 12. Similarly, Plaintiffs asserted blanket objections to each of 1
  9
      Hotel’s Rule 34 requests for production. Jaworski Decl. ¶ 15. Plaintiffs’ redundant
 10
      boilerplate objections stated in some fashion that each request was vague, indefinite,
 11   overly broad, irrelevant, and sought confidential and/or privileged information –
 12   providing no particularity for the basis of the objections. Jaworski Decl., Exs. 7, 9.

 13         After multiple demands for substantive responses to discovery and for times
      to confer on the same, on July 26, 2024, Plaintiffs made one small production of 60
 14
      pages of documents. Jaworski Decl. ¶ 18. This production is responsive to only one
 15
      document request and only one Plaintiff, I.M. Id. Since July 26, 2024, Plaintiffs’
 16
      counsel has totally failed to respond to any further communications from 1 Hotel’s
 17   counsel. Jaworski Decl. ¶ 28. To date, 1 Hotel’s counsel has made no fewer than
 18   four requests for conferral on discovery matters, which have gone totally ignored by

 19   Plaintiffs’ counsel. Jaworski Decl. ¶¶ 24-28.

 20         c.     Plaintiffs failed to present Sunny Khachatryan for her discovery
                   deposition.
 21         On July 12, 2024, 1 Hotel issued a Notice of Deposition for Plaintiff Sunny

 22   Khachatryan, tentatively scheduled for August 7, 2024. Jaworski Decl. ¶ 21. In
      serving the deposition notice, 1 Hotel asked Plaintiffs to provide Ms. Khachatryan’s
 23
      availability or alternative dates for the deposition. Jaworski Decl., Ex. 5. Plaintiffs
 24
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   1   entirely failed to acknowledge receipt of the Notice of Deposition and did not present
       Sunny Khachatryan for the scheduled deposition. Jaworski Decl. ¶ 22. Plaintiffs’
   2
       counsel also failed to respond to discovery conferral requests, including requests to
   3
       confer on Ms. Khachatryan’s availability for a deposition date and location. Jaworski
   4
       Decl. ¶ 23.
   5         d.      Plaintiffs failed to participate in a C.D. Cal. Local Rule 37-1
                     conferral.
   6
             1 Hotel group has made several requests for conferral with Plaintiff’s counsel,
   7
       including expressly under Local Rule 37-1 which requires parties to confer on
   8   discovery disputes. Jaworski Decl. ¶¶ 24-27. Specifically, on July 16, 2024, 1 Hotel
   9   sent a Local Rule 37-1 pre-filing conference letter and provided the topics for

  10   conferral. Jaworski Decl. ¶ 24. Plaintiffs ignored 1 Hotels request. On July 17, 2024,
       1 Hotel specifically requested dates and times of Plaintiffs availability that same
  11
       week to meet and confer. Jaworski Decl. ¶ 28. Plaintiffs’ counsel did not respond.
  12
       Id. Again, on July 30, 2024, 1 Hotel requested that Plaintiffs’ counsel provide their
  13
       availability for a Local Rule 37-1 meet and confer and provided an agenda of
  14   discovery topics for same. Jaworski Decl. ¶ 27. Here, too, Plaintiffs ignored 1
  15   Hotel’s correspondence and did not respond to 1 Hotel’s conferral request. Jaworski

  16   Decl. ¶ 28. Plaintiffs’ failure to participate in the pre-filing conference procedure
       allows 1 Hotel to bypass the need for a joint stipulation and allows for the direct
  17
       filing of this motion under Local Rule 37-2.4(a). Jaworski Decl. ¶ 29. See Leprino
  18
       Foods Co. v. Avani Outpatient Surgical Ctr., Inc., No. 2:22-cv-07434-DSF-JC, 2024
  19   WL 650434, at *4 (C.D. Cal. Jan. 4, 2024) (citing Local Rule 37-2.4).
  20   IV.   ARGUMENT
  21         Parties in litigation have an “affirmative duty to engage in pretrial discovery

  22   in a responsible manner, consistent with the spirit and purposes of [discovery] rules
       26 through 37.” Fed. R. Civ. P. 26(g) advisory committee's note to 1983 amendment.
  23
             Failing to engage in discovery risks sanctions, including payment of
  24
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   1   requesting party’s reasonable fees, barring evidence, and even dismissal of claims.5
       Lute v. Sniff, No. 517CV01722DSFSP, 2022 WL 4072036 (C.D. Cal. July 7, 2022),
   2
       report and recommendation adopted, No. 517CV01722DSFSP, 2022 WL 4042469
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       (C.D. Cal. Sept. 1, 2022) (dismissing entire case with prejudice for failure to comply
   4
       with discovery orders); see also Connecticut Gen. Life Ins. Co. v. New Images of
   5   Beverly Hills, 482 F.3d 1091, 1095 (9th Cir. 2007) (affirming district court's
   6   imposition of terminating sanction for discovery violations).

   7           Unless they can show that their failure to meaningfully participate in
       discovery is somehow justified, Plaintiffs are liable for, at least, the “reasonable
   8
       expenses incurred [by 1 Hotel] in making the motion, including attorneys’ fees.”
   9
       Leprino Foods, 2024 WL 650434, at *4 (Fed. R. Civ. P. 37(a)(5)(A) attorneys’ fees
  10
       awarded where motion to compel was granted and opposing party’s conduct was not
  11   substantially justified); see also R & R Sails, Inc. v. Ins. Co. of Pennsylvania, 673
  12   F.3d 1240, 1246 (9th Cir. 2012) (burden is on the losing party to prove that its

  13   position was substantially justified to avoid award of attorney’ fees under Fed. R.
       Civ. P. 37(a)(5)(A)).
  14
               a.     This Court should compel Plaintiffs’ compliance with Fed. R. Civ.
  15                  P. 26, 33 and 34.
  16           The case was filed nearly nine months ago. To date, Plaintiffs have failed to
       provide any basis for explaining how they calculated their damages demand and
  17
       intend to support their claims. Plaintiffs’ abject failure to prosecute their case and
  18
       participate in discovery is inexcusable, and prejudices 1 Hotel’s ability to defend
  19   itself against the claims. “A defendant suffers prejudice if the plaintiff's actions
  20   impair the defendant's ability to go to trial or threaten to interfere with the rightful
  21   decision of the case.” In re Phenylpropanolamine (PPA) Prods. Liab. Litig., 460

  22
       5
         At this time, 1 Hotel is only seeking monetary sanctions. Should Plaintiffs continue their failure
  23   to prosecute their case or not participate in discovery, they should have their claims dismissed, and
       1 Hotel reserves its right to seek such relief. See Fed. R. Civ. P. 41(b); Link v. Wabash R.R. Co.,
  24   370 U.S. 626, 629–30, 82 S.Ct. 1386, 8 L.Ed.2d 734 (1962).
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   1   F.3d 1217, 1227 (9th Cir. 2006) (highlighting that failure to produce documents is
       considered sufficient prejudice).
   2
                    i.     Plaintiffs should be compelled to provide sufficient Rule
   3                       26(a)(1)(A)(iii) damages calculations.
   4         “Defendants are not required to compute damages, Rule 26 requires plaintiffs
       to do so.” Erhart v. BofI Holding, Inc., No. 15-CV-02287-BAS-NLS, 2022 WL
   5
       129696, at *4 (S.D. Cal. Jan. 13, 2022) (quoting Villagomes v. Lab. Corp. of Am.,
   6
       783 F. Supp. 2d 1121, 1129 (D. Nev. 2011). “[T]he ‘computation’ of damages
   7
       required by Rule 26(a)(1)[(A)(iii)] contemplates some analysis,” enough so that the
   8   opposing party can “understand the contours of its potential exposure and make
   9   informed decisions as to settlement and discovery.” City & County of San Francisco

  10   v. Tutor-Saliba Corp., 218 F.R.D. 219, 221 (N.D. Cal. 2003).
             Plaintiffs’ amended Rule 26 disclosures – after repeated insistence by 1 Hotel
  11
       to provide a computation of damages – is only a rote copy of its prayer for relief:
  12
       “Plaintiffs seek monetary relief of actual damages in the amount of $2,000,000.”
  13
       Jaworski Decl., Ex. 4 at ¶ II(C). This statement has no analysis of the actual damages
  14   sought by Plaintiffs that would allow 1 Hotel to “understand the contours of its
  15   potential exposure.” Tutor-Saliba Corp., 218 F.R.D. at 221; Spin Master, Ltd. v.

  16   Zobmondo Ent., LLC, No. CV063459ABCPLAX, 2011 WL 13127349, n.12 (C.D.
       Cal. Sept. 15, 2011), on reconsideration in part, No. CV063459ABCPLAX, 2011
  17
       WL 13127211 (C.D. Cal. Oct. 13, 2011) (“category of 'actual damages’ is
  18
       meaningless as a ‘category’ because it says nothing about the type of actual damages
  19   sought.”).
  20         Tutor-Saliba’s rejection of vague categorization of damages is instructive. In
  21   Tutor-Saliba, the court rejected the plaintiffs' aggregation of all compensatory

  22   damages for their claims, requiring instead that the plaintiffs distribute their damages
       among the several contracts at issue and among their separate claims. Id. at 221–22.
  23
       This latter disclosure was critical because the plaintiffs' likely success on each claim
  24
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   1   could vary, so the damages exposure for each claim would be crucial to defendants'
       assessment of the case. Id.
   2
               Plaintiffs’ disclosures are even more vague than those in Tutor-Saliba.
   3
       Without Plaintiffs providing any computation of the actual damages sought, 1 Hotel
   4
       cannot effectively evaluate the components of Plaintiffs $2 million per plaintiff
   5   damages claim (or up to $6 million total damages claim), or the basis for the same.
   6   And, if Plaintiffs lack any actual damages (as 1 Hotel suspects), it should be able to

   7   promptly move for summary judgment.6
               Indeed, failure to provide proper Rule 26 damages calculations may result in
   8
       the exclusion of evidence of categories of damages that are computable. Erhart,
   9
       2022 WL 129696, at *4 (citing to Rule 37(c)(1) and holding that any evidence related
  10
       to calculable damages was excluded). “Rule 37, in turn, provides that if a party fails
  11   to provide the information required by Rule 26, ‘the party is not allowed to use that
  12   information or witness to supply evidence on a motion, at a hearing, or at a trial,

  13   unless the failure was substantially justified or harmless.’” Mariscal v. Graco, Inc.,
       52 F. Supp. 3d 973, 981 (N.D. Cal. 2014) (quoting Fed. R. Civ. P. 37(c)(1)); see also
  14
       Yeti by Molly, Ltd. v. Deckers Outdoor Corp., 259 F.3d 1101, 1106, n.1 (9th Cir.
  15
       2001) (Rule 37 forbids the use at trial of “any information required to be disclosed
  16
       by Rule 26(a) that is not properly disclosed, unless the lack of disclosure had
  17   “substantial justification” or was “harmless.”). At this time, Plaintiffs have not met
  18   their burden to provide a proper Rule 26 damages computation.

  19           The Court should compel Plaintiffs to supplement their Rule 26 damages
       computation without undue delay, providing the specific categories of damages and
  20
       the basis for each, on a per plaintiff basis, within 7 days. Without a prompt
  21

  22
       6
         On February 14, 2024, 1 Hotel tendered Rule 68 Offers of Judgment to Plaintiffs Sunny
  23   Khachatryan, I.M., and B.A.J based on its analysis of the claims and damages at that time.
       Plaintiffs did not accept 1 Hotel’s Offer, potentially exposing them to future payment of 1 Hotel’s
  24   costs in this litigation. Fed. R. Civ. Pro. 68(d).
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   1   supplementation of the required detailed computation, Plaintiffs should be subject
       to the sanctions provided by Rule 37(c)(1), precluding the use of any evidence that
   2
       may be used to support their request for relief.
   3
                    ii.    This Court should compel Plaintiffs to fully respond to 1
   4                       Hotel’s written discovery requests.
             “[T]he purpose of discovery is to remove surprise from trial preparation so
   5
       the parties can obtain evidence necessary to evaluate and resolve their dispute. Keith
   6
       H. v. Long Beach Unified Sch. Dist., 228 F.R.D. 652, 655 (C.D. Cal. 2005). “All
   7
       discovery, and federal litigation generally, is subject to Rule 1, which directs that the
   8   rules ‘shall be construed and administered to secure the just, speedy, and inexpensive
   9   determination of every action.’” A. Farber and Partners, Inc. v. Garber, 234 F.R.D.

  10   186, 188 (C.D. Cal. 2006). Plaintiffs’ deficient responses have required 1 Hotel to
       repeatedly follow up and request supplementation, only for the supplemented
  11
       response to be equally deficient, needlessly causing delay and accrual of expenses.
  12
             Plaintiffs’ responses to discovery are dilatory and unacceptable – the law is
  13
       clear that blanket boilerplate objections are inappropriate. Even if Plaintiffs could
  14   assert legitimate objections to 1 Hotel’s discovery requests “[g]eneral or boilerplate
  15   objections . . . are improper.” A. Farber & Partners, Inc., 234 F.R.D. at 188.

  16   Moreover, relevancy objections require an “explanation or argument why the
       requested documents are not relevant.” Id. These general, repetitive objections are
  17
       wholly inappropriate and evasive. “[A]ttempt[s] to evade disclosure through reliance
  18
       on boilerplate objections is an abuse of the discovery process.” Marti v. Baires, 1:08-
  19   CV-00653-AWI, 2012 WL 2029720, at *7 (E.D. Cal. June 5, 2012). This type of
  20   litigation tactic is not tolerated by the courts and may result in the imposition of
  21   sanctions. Id.

  22         1 Hotel issued its interrogatories and requests for production on June 14, 2024.
       More than two months later, those discovery requests remain entirely outstanding.
  23
       Plaintiffs have made one incomplete production of approximately 60 pages of
  24
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   1   documents concerning only Plaintiff I.M.7 All other categories of documents,
       including for Plaintiff I.M., remain outstanding, as do the production of any
   2
       documents related to Plaintiffs B.A.J and Sunny Khachatryan, as well as responses
   3
       to all of 1 Hotel’s interrogatories. Plaintiffs must be made to produce all documents
   4
       responsive to 1 Hotel’s document requests, or to confirm that no such information
   5   exists, and provide substantive responses to all of 1 Hotel’s interrogatories.
   6           With fact discovery closing shortly, Plaintiffs failure to participate in the basic

   7   process of discovery is delaying 1 Hotel from deposing witnesses, engaging experts,
       and moving the defense of this case forward. Plaintiffs’ conduct has made it
   8
       “impossible for [defendants] to proceed to any imaginably fair trial,” as we are
   9
       nearly nine months into litigation, and 1 Hotel is still without the most basic
  10
       information supporting Plaintiffs’ claims of liability and theory of damages. See
  11   Brown v. Hoops, No. CV 11-5415-CAS DTB, 2013 WL 4854118, at *4 (C.D. Cal.
  12   Sept. 10, 2013) (quoting Computer Task Grp. v. Brotby, 364 F.3d 1112, 1116 (9th

  13   Cir. 2004)).
               This Court should compel Plaintiffs to fully answer Interrogatory Nos. 1-18
  14
       and produce all responsive information to RFP Nos. 1-13 within 14 days.
  15
                      iii.   This Court should compel Plaintiff Sunny Khachatryan to
  16                         appear for a deposition.
               Fed. R. Civ. P. 30 governs depositions by oral examination. Specifically, it
  17
       provides that “[a] party may, by oral questions, depose any person, including a party,
  18
       without leave of court except as provided in Rule 30(a)(2)....” Fed. R. Civ. P.
  19   30(a)(1). Additionally, “[a]ny party who wants to depose a person by oral questions
  20   must give reasonable notice to every other party....” Fed. R. Civ. P. 30(b)(1). 1 Hotel
  21   issued a Notice of Deposition for Plaintiff Sunny Khachatryan set for August 7,

  22
       7
         Plaintiffs’ July 26, 2024 document production is limited to only certain contractual documents
  23   related to I.M and no other plaintiff. The RFPs are directed at all Plaintiffs, not just I.M. Thus,
       whichever unidentified RFP the limited production is responsive to is still incomplete, leaving
  24   Plaintiffs’ responses to all RFPs substantively deficient.
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   1   2024. Not only did Sunny Khachatryan fail to appear for her deposition on August
       7, but Plaintiffs have entirely failed to respond to a basic inquiry for mutually
   2
       acceptable dates for Sunny Khachatryan’s deposition. This Court should compel
   3
       Plaintiff Sunny Khachatryan to sit for her deposition within 30 days of Plaintiffs’
   4
       court ordered deadline to answer the written discovery in § IV(a)(ii).
   5         b.     Fed. R. Civ. P. 37 sanctions are appropriate for Plaintiffs’ repeated
                    noncompliance in discovery and other dilatory actions.
   6
             Fed. R. Civ. P. 37(a)(5)(A) states that if a “motion [to compel] is granted—or
   7
       if the disclosure or requested discovery is provided after the motion was filed—the
   8   court must . . . require” the party or attorney “whose conduct necessitated the
   9   motion” to “pay the movant's reasonable expenses incurred in making the motion,

  10   including attorney’s fees” (emphasis added). Attorneys’ fees under Rule 37(a)(5)(A)
       are mandatory, unless the compelled party meets one of the narrow exceptions. See
  11
       Morgan Hill Concerned Parents Assoc. v Cal. Dep’t of Educ., No. 11-cv-3471-KJM
  12
       (AC), 2016 WL 4375015, at *4 (E.D. Cal. Aug. 17, 2016) (noting mandatory nature
  13
       of Rule 37(a)(5)(A)).
  14         This Plaintiffs’ overall dilatory behavior, failure to prosecute their own
  15   claims, an abject failure to meaningfully participate in discovery, as described above,

  16   is exactly the behavior Rule 37 seeks to deter and punish. The Court should not
       tolerate it and sanctions are appropriate. See O. L. v. City of El Monte, No.
  17
       220CV00797RGKJDE, 2021 WL 9721339, at *6 (C.D. Cal. Feb. 8, 2021) (“[r]efusal
  18
       to properly and timely respond substantively to basic discovery requests, including
  19   a failure to appear at her deposition without justification, and repeated violations of
  20   the Local Rules, all to the detriment and prejudice of Defendant[], make an excusal
  21   of Plaintiffs’ conduct not warranted here.”).

  22         Plaintiffs have no reasonable justification for their continuous refusal to
       participate in discovery and failure to respond to 1 Hotel’s conferral requests. The
  23
       Court should grant 1 Hotel’s request for sanctions and attorneys’ fees in bringing
  24
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   1   this motion.
       V.    CONCLUSION
   2
             In view of the above, 1 Hotel respectfully requests that the Court issue an
   3
       Order:
   4
                (1)   Compelling Plaintiffs to provide proper Rule 26(a)(1)(A)(iii)
   5                  damages calculations within 7 days;
   6

   7            (2)   Compelling Plaintiffs to provide substantive responses to each and
                      every interrogatory (Interrog. Nos. 1-18) within 14 days;
   8

   9
                (3)   Compelling Plaintiffs to search for and produce all relevant
  10
                      documents responsive to all outstanding requests for production
  11                  (RFP Nos. 1-13) within 14 days;
  12

  13            (4)   Compelling Plaintiff Sunny Khachatryan to appear for a discovery
                      deposition within 30 days of compliance with (1)-(3) above; and
  14

  15
                (5)   Granting 1 Hotel its reasonable expenses and attorneys’ fees in
  16
                      bringing this motion under Fed. R. Civ. P. 37(a)(5)(A).
  17
       Dated: August 19, 2024                CLARK HILL PLC
  18

  19
                                             By: s/ Myriah V. Jaworski
  20                                             Myriah V. Jaworski

  21                                            Attorneys for Defendant 1 HOTEL WEST
                                                HOLLYWOOD, L.L.C.
  22

  23

  24
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